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                                                                   July 27, 2016
                                                                      Ivette Gomez




      COURT'S
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